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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  ABERDEEN DIVISION

CHRISTOPHER C. DIGGS                                                                         PLAINTIFF

VS.                                                       CIVIL ACTION NO. 1:15CV186-SA-DAS

THE BURLINGTON NORTHERN AND
SANTA FE RAILWAY COMPANY                                                                   DEFENDANT

       MEMORANDUM SUPPORTING DEFENSE SUMMARY JUDGMENT MOTION

            BNSF Railway Company1 (“BNSF”) seeks summary judgment dismissing this

employment discrimination suit because there is no evidence of any race or disability-based

disparate treatment.

                                              SUMMARY

            Plaintiff Christopher Diggs, a BNSF train-service employee, claims that BNSF

unlawfully delayed his return to work from a medical leave of absence because of his race and

disability, in violation of Title VII, 42 U.S.C. § 1981, and the Americans with Disabilities Act.

In January 2009, Mr. Diggs requested and was granted a medical leave of absence due to what he

reported were disabling foot injuries that he attributed to extensive walking on large track ballast

and uneven surfaces, often while carrying heavy objects. For the next 66 months, he insisted that

he could not return to work because he was totally disabled. Then, in late 2014, after he lost his

personal-injury lawsuit against the railroad, he announced that he was medically fit to return to

active duty with no restrictions. Before clearing him to return to work, BNSF’s evaluating

physician, Dr. Laura Gillis, followed standard practice for the Medical and Environmental

Health Department by requiring him to provide the medical records and information underlying

his treating physicians’ opinions so that she could review them and determine whether he was fit

            1
        BNSF was incorrectly named in Plaintiff’s Complaint as “The Burlington Northern and Santa Fe Railway
Company.”



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to return to the physically demanding and safety sensitive job of train-service employee.

Although Diggs faults her for not simply deferring to his physicians’ fitness opinions, he has no

evidence that race or disability discrimination motivated her. In particular, he cannot identify a

comparator whom Dr. Gillis treated more favorably under substantially similar circumstances.

Mr. Diggs’ claims are ripe for summary judgment.

                                        UNDISPUTED MATERIAL FACTS

            I.         Christopher Diggs took medical leave from a physically demanding job in
                       2009 due to disabling foot injuries.

            Mr. Diggs is a union-represented, African-American, BNSF train yard & engine

(“TY&E” or “train-service”) employee assigned to BNSF’s Amory, Mississippi rail yard. Train-

service employees are responsible for operating BNSF trains and engines, performing tasks that

require working outside in all weather conditions; walking on uneven surfaces; lifting up to 90

pounds; climbing trains, ladders, and other equipment; and bending, lifting, walking, standing or

sitting for extended periods of time. (See, e.g., Job Posting for Conductor Trainee, Motion

Exhibit 1; TY&E Safety Rules, Motion Exhibit 2.) They work in an unforgiving environment—

on and around massive, moving trains and on-track equipment. (See, e.g., Motion Exhibit 2, at 7

(“Expect the movement of trains, engines, cars, or other equipment at any time, on any track, and

in either direction”)).

            In January 2009, Mr. Diggs requested a medical leave due to disabling foot injuries that

he attributed to “extensive walking on large track ballast2 and uneven surfaces…often while

carrying heavy objects.” (See FELA Complaint, Motion Exhibit 3, at ¶5.)                              BNSF granted his

request.




            2
                Track ballast, frequently made of crushed stone, forms the bed on which railroad tracks are laid.



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            More than a dozen times during his leave, employees from BNSF’s Medical and

Environmental Health Department (“Medical Department”) offered to help Mr. Diggs return to

work.3 BNSF also repeatedly extended Mr. Diggs’ leave, so as to enable him to remain a BNSF

employee. (See Declaration of Laura Gillis, Motion Exhibit 17 and Diggs deposition excerpts,

Motion Exhibit 18, at 30:21-31:6).

            II.        Mr. Diggs’ medical condition worsened after he took leave, and he declared
                       himself disabled.

            After taking leave, Mr. Diggs’ medical problems worsened. He was diagnosed with

diabetes in June 2009, which he said “only complicates my condition. Furthermore, I have been

instructed by [a podiatrist] to stay off my feet as much as possible. Standing, sitting or any stress

put on my foot puts me at greater risks of getting infection in my foot and increases the chances

of more bone spurs.” (See July 7, 2010 letter from Diggs, Motion Exhibit19). On July 14, 2010,

Mr. Diggs related that he thought he could return to work but that his podiatrist counseled

against it: “Dr. Calvert thinks that in the long run I will do more damage to my foot.” (See July

14, 2010 e-mail from Diggs to Ouellette, Motion Exhibit 20.)

             Dr. George Housley, who began treating Mr. Diggs for myositis4 during his leave,

opined that Mr. Diggs was fit only for “a job that is deemed sedentary.” “This patient is unable

to perform manual labor,” he wrote. (See Undated letter from George Housley, Motion Exhibit

21.)


            3
           See July 2009, letter from Brett Ouellette to Diggs, Motion Exhibit 4; March 9, 2010, letter from Ouellette
to Diggs, Motion Exhibit 5; April 16, 2010 letter from Ouellette to Diggs, Motion Exhibit 6; May 28, 2010, letter
from Ouellette to Diggs, Motion Exhibit 7; June 18, 2010 letter from Ouellette to Diggs, Motion Exhibit 8; July 16,
2010 letter from Ouellette to Diggs, Motion Exhibit 9; October 4, 2010, letter from Benjamin Gillam to Diggs,
Motion Exhibit 10; December 8, 2010 letter from Gillam to Diggs, Motion Exhibit11; May 26, 2011 letter from
Gillam to Diggs, Motion Exhibit 12; March 13, 2013 letter from Gillam to Diggs, Motion Exhibit 13; June 3, 2013
letter from Gillam to Diggs, Motion Exhibit 14; February 3, 2014 letter from Gillam to Diggs, Motion Exhibit 15;
April 22, 2014 letter from Gillam to Diggs, Motion Exhibit 16.
            4
                Myositis weakens and inflames the muscles.



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            During his leave, Mr. Diggs claimed total disability in multiple legal proceedings,

including an application to obtain disability benefits from the federal government and a personal-

injury lawsuit against BNSF. The Railroad Retirement Board deemed him unable to return to his

former work for BNSF, but not disabled from all gainful employment. (See Diggs deposition

excerpts, Motion Exhibit 18, at 40:4-21.)

            At no point before summer 2014 did Mr. Diggs’ own physicians inform him or BNSF

that he might be able safely to return to his former work for BNSF. (See Gillis Declaration,

Motion Exhibit 17, and Diggs deposition excerpts, Motion Exhibit 18, at 43:20-24.)

            III.   In 2014, after an absence of more than five years, Mr. Diggs asked to return
                   to his job at BNSF, and BNSF’s Medical Department issued standard
                   requests for his medical records.

            Then, in a to-whom-it-may concern letter dated July 7, 2014 and not accompanied by

medical records, Mr. Diggs’ podiatrist acknowledged that Mr. Diggs remained unable to return

to work but added: “I feel that within the next four weeks, Mr. Diggs will be able to return to his

job with Burlington Northern Santa Fe Railroad. He may return to work on 08/04/2014.

Anticipated activity restrictions are as follows: none.” (See July 7, 2014 Letter from Preston

Boles, Motion Exhibit 22). Learning of Mr. Diggs’ desire to return to work led BNSF’s Medical

Department to ask him for up-to-date medical information, including the medical records

underlying his podiatrist’s note releasing him to return to work.5 On July 30, 2014, Medical

Specialist Cheryl Renee Kimbriel asked Mr. Diggs to complete a medical questionnaire as the

“first step” in BNSF’s fitness-for-duty process. (See July 30, 2014 Letter from Kimbriel, Motion

Exhibit 23). Mr. Diggs returned a medical questionnaire which showed he had been diagnosed


            5
             This was not the first time the Medical Department had requested medical records from Mr. Diggs. From
their first communications in 2009, BNSF’s Medical Department had repeatedly informed Mr. Diggs that it would
need records from his medical providers in order to assist him in a return to work. (See July 9, 2009, letter from
Ouellette, Motion Exhibit 4).



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with diabetes, been treated for myopathy and had undergone surgery since the date of his last

active employment in 2009. (See August 4, 2014 Letter from Diggs, Motion Exhibit 24).

            These disclosures about Mr. Diggs’ medical problems during his leave prompted

additional questions from the Medical Department regarding his physical ability to perform his

duties safely. Dr. Laura Gillis, BNSF’s medical director,6 articulated those questions in an

August 20, 2014 letter. (See August 20, 2014, Letter from Dr. Laura Gillis, Motion Exhibit 25).

She asked Mr. Diggs for “a detailed history of [his] condition(s), current functional status, any

symptoms, treatment plan including need for medications, any medication side effects, [and] any

recommended activity restrictions and prognosis.” Id. Also, because Mr. Diggs had been

diagnosed with diabetes since 2009, Dr. Gillis followed her standard practice by asking that he

fill out an enclosed medical status form regarding the status of his treatment for diabetes. Id.

            IV.    Mr. Diggs responded to BNSF’s medical records requests in dribs and drabs,
                   not providing all requested records until September 2016.

            Thereafter, BNSF received partial responses to its requests and repeatedly informed Mr.

Diggs that he had failed to provide complete information. On November 3, 2014,7 Dr. Boles sent

BNSF a three-sentence letter acknowledging that Mr. Diggs was his patient and opining that he

was able to return to work. (See November 3, 2014 Letter from Preston Boles, Motion Exhibit

27). On December 8, 2014, Dr. Gillis explained to Mr. Diggs that she had received none of the

information requested on August 20, 2014, except for the letter from Dr. Boles, and that the

information received from Dr. Boles was inadequate for a return-to-work determination as it

lacked requested details about Mr. Diggs’ current conditions as well as the chronic foot issues

            6
          Dr. Gillis holds a medical degree with a specialty in occupational health, as well as a master’s degree in
public health, and is a fellow of the American College of Occupational and Environmental Medicine.
            7
         Dr. Boles has not seen Mr. Diggs or communicated with BNSF since November 3, 2014, before Dr. Gillis
informed Mr. Diggs that she needed more information from Dr. Boles. (See Preston Boles deposition excerpts,
Motion Exhibit 26, at 37:9-11, 40:11-20.)



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that had forced him from work. (See December 8, 2014 Letter from Gillis, Motion Exhibit 28).

On January 2, 2015, Dr. Gillis noted continuing deficiencies in Mr. Diggs’ medical records,

pointing out to him that, even in the records he had provided, there were references to medical

records he had not yet given to her. (See January 2, 2015 Letter from Dr. Gillis, Motion Exhibit

29 (citing, among other items, that a cover letter from one of Mr. Diggs’ doctors refers to

enclosed visit notes that were not actually enclosed).) On April 8, 2015, Dr. Gillis re-sent Mr.

Diggs a copy of her January 2 letter and reiterated her inability to determine Mr. Diggs’ fitness

for duty on his current, incomplete medical record. (See April 8, 2015 Letter from Gillis, Motion

Exhibit 30.) Mr. Diggs himself acknowledged that he’d not given Dr. Gillis everything for

which she had asked, telling an Equal Employment Opportunity Commission investigator on

April 24, 2015, that he was “still in the process of submitting documentation to [BNSF] that was

requested that he submit in order to return back to his job.” (See EEOC Case Log, Motion

Exhibit 31.)

            Nearly a year later, still lacking the requested information from Mr. Diggs, Dr. Gillis

wrote him again to request it. (See February 5, 2016 Letter from Gillis, Motion Exhibit 32.)

Following that correspondence, Dr. Gillis continued to urge him to provide the required

documents, writing him on five more occasions and extending his leave five more times as Mr.

Diggs gradually gathered and provided the requested medical information.                            (See Gillis

Declaration, Motion Exhibit 17, at ¶12.)

            BNSF did not terminate Mr. Diggs’ employment; rather, he remained on vocational

rehabilitation status during this time.8 Finally, on September 9, 2016, Mr. Diggs’ lawyers


            8
         See Gillis Declaration, Motion Exhibit 17; Motion Exhibit 32; March 4, 2016, Letter from Rachel Pierce
Waide, Motion Exhibit 33; March 22, 2016, Letter from Gillis, Motion Exhibit 34; April 21, 2016, Letter from
Waide, Motion Exhibit 35; June 23, 2016, Letter from Waide, Motion Exhibit 36; July 1, 2016, Letter from Waide,
Motion Exhibit 37; July 8, 2016, Letter from Gillis, Motion Exhibit 38; August 8, 2016 Letter from Waide, Motion


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provided the final missing piece of his medical record—information from the Oxford Medical

Clinic regarding whether his diabetes was now under control. Dr. Gillis reviewed his file and

released him on September 12 for full-duty work. (See Gillis Declaration, Motion Exhibit 17.)

That same day, Dr. Gillis had Medical Specialist Kimbriel telephone Mr. Diggs to inform him of

the news.9

            Dr. Gillis, who began work for BNSF in late June 2013, has never met Mr. Diggs. (See

Gillis Declaration, Motion Exhibit 17, and Diggs deposition excerpts, Exhibit 18, at 26:14-19.)

Before Mr. Diggs filed this suit, Dr. Gillis was not aware of his race. (See Motion Exhibit 17.)

Nor is she aware of a similarly situated employee—i.e., a train yard worker in vocational

rehabilitation status, having claimed permanent disability, seeking years later her determination

that he is fit to return to active duty—from whom she did not require relevant medical records

before making a fitness-for-duty determination. Id.

            Dr. Gillis’ requests for Mr. Diggs’ medical records comport with Medical Department

practice, which requires employees absent on medical leave for more than a year to disclose

detailed information, including a completed Medical Department questionnaire, before returning

to work. (See Gillis deposition excerpts, Motion Exhibit 45, at 16:7-20; Gillis Declaration,

Motion Exhibit 17.) Mr. Diggs had been absent for five years at the time he asked to return to

work. Mr. Diggs acknowledged “several chronic medical problems,” including uncontrolled

diabetes, myositis and podiatric problems that had forced him to take leave in 2009 and

prompted a physician to opine that a foot amputation might be necessary. (See Gillis deposition


Exhibit 39; August 9, 2016, Letter from Waide, Motion Exhibit 40; August 10, 2016, Letter from Gillis, Motion
Exhibit 41; August 17, 2016, Letter from Gillis, Motion Exhibit 42; August 30, 2016, Letter from Waide, Motion
Exhibit 43; September 2, 2016, Letter from Gillis, Motion Exhibit 44.
            9
           Federal Railroad Administration rules required that Mr. Diggs have his vision and hearing checked before
returning to work. Mr. Diggs scheduled an appointment for that hearing and vision screening, and, on September
28, 2016, the Medical Department learned that he had passed the exam.



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excerpts, Motion Exhibit 45, at 31:21-35:8.)         Dr. Gillis’ undisputed testimony is that she

requested records relevant to those conditions in order to investigate Mr. Diggs’ ability to

perform essential job functions. Id.

                             SUMMARY-JUDGMENT STANDARD

            To avoid summary judgment, Mr. Diggs must produce evidence of specific facts that

demonstrate that a genuine issue of material fact exists. See Celotex Corp. v. Catrett, 477 U.S.

317, 323-324 (1986). “The once frequently repeated characterization of summary judgment as a

disfavored procedural shortcut no longer appertains. Summary judgment is appropriate where

critical evidence is so weak or tenuous on an essential fact that it could not support a judgment in

favor of the non-movant, or where it is so overwhelming that it mandates judgment in favor of

the movant.” Armstrong v. City of Dallas, 997 F.2d 62, 66-67 (5th Cir. 1993). See also Alton v.

Texas A&M University, 168 F.3d 196, 199 (5th Cir. 1999) (same). Mr. Diggs may not defeat it

by pointing to “conclusory allegations,” “a scintilla of evidence,” or “some metaphysical doubt

as to the material facts.” Little v. Liquid Air Corp., 37 F.3d 1069, 1075 (5th Cir. 1994).

Likewise, “[h]earsay evidence inadmissible at trial cannot be used to create a genuine issue of

material fact to avoid summary judgment.” Harris v. Pontotoc Co. Sch. Dist., 635 F.3d 685, 692

(5th Cir. 2011).

            Mr. Diggs “can prove disparate treatment” under Title VII or the ADA either by (1)

direct evidence that a workplace policy, practice, or decision relies expressly on a protected

characteristic, or (2) indirect evidence, by using the burden-shifting framework set forth in

McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973). See, e.g., EEOC v. LHC Group, Inc.,

773 F.3d 688, 694 (5th Cir. 2014); TWA v. Thurston, 469 U.S. 111, 121 (1985); Fairchild v. All

Am. Check Cashing, Inc., 815 F.3d 959, 966 (5th Cir. 2016). “Direct evidence is evidence

which, if believed, proves [disparate treatment] without inference or presumption.” Jones v.


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Robinson Prop. Grp., L.P., 427 F.3d 987, 992 (5th Cir. 2005). For reasons discussed below, the

record contains no admissible direct evidence of prohibited discrimination against Mr. Diggs.

            Because Mr. Diggs has no direct evidence to support his claims, the legal standards

applicable to his suit are the shifting burdens of production and proof set out in McDonnell

Douglas Corp. v. Green, 411 U.S. 792, 803 (1973). See Burton v. Freescale Semiconductor,

Inc., 798 F.3d 222, 226-227 (5th Cir. 2015). Specifically, under Title VII and 42 U.S.C. § 1981,

he must show that “(1) he belongs to a protected group; (2) [he] was qualified for his position;

(3) [he] suffered an adverse employment action; and (4) … in the case of disparate treatment, . . .

similarly situated employees were treated more favorably.” Nasti v. CIBA Specialty Chems.

Corp., 492 F.3d 589, 593 (5th Cir. 2007) (citing Okoye v. Univ. of Tex. Houston Health Sci. Ctr.,

245 F.3d 507, 512-513 (5th Cir. 2001)). Under the ADA, Mr. Diggs “must show (1) he has a

disability; (2) he was qualified for the job; and (3) he was subject to an adverse employment

decision on account of his disability.” Delaval v. PTech Drilling Tubulars, L.L.C., 824 F.3d 476,

479 (5th Cir. 2016) (internal citation and quotation marks omitted).

            If the plaintiff establishes a prima facie case, then the burden shifts to the employer to

rebut the presumption of discrimination by producing evidence that the adverse employment

action was taken for a non-discriminatory reason. See Reeves v. Sanderson Plumbing Prods.,

Inc., 530 U.S. 133, 142 (2000); McDonnell Douglas, 411 U.S. at 802. Though the burden of

production then shifts to the employer, the burden of persuasion remains at all times on the

plaintiff. See Tex. Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248, 253 (1981).          Indeed, the

employer’s reason for the adverse employment action need not be persuasive or credible. See,

e.g., St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502, 509 (1993); Sandstad v. CB Richard Ellis,

Inc., 309 F.3d 893, 898 (5th Cir. 2002). Instead, the defendant’s burden is to “produce evidence




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‘which, taken as true, would permit the conclusion that there was a nondiscriminatory reason for

the adverse action.’” Carlton v. Mystic Transp., Inc., 202 F.3d 129, 136 (2d Cir. 2000) (quoting

Hicks, 509 U.S. at 509).

           Once the employer meets its burden, the plaintiff may demonstrate that the proffered

reason was mere pretext. Reeves, 530 U.S. at 143; McDonnell Douglas, 411 U.S. at 804. Once a

case reaches this pretext stage, “the only question on summary judgment is whether there is a

conflict in substantial evidence to create a jury question regarding discrimination.” Shackelford

v. Deloitte & Touche, LLP, 190 F.3d 398, 404 (5th Cir. 1999) (emphasis added); see also

Swanson v. Gen. Serv. Admin., 110 F.3d 1180, 1185 (5th Cir. 1997) (“[P]laintiff’s case must, at

the very least create a conflict of substantial evidence from which the jury may infer illegal

discrimination”).      “The trier of fact may not simply choose to disbelieve the employer’s

explanation in the absence of any evidence showing why it should do so.” Swanson, 110 F.3d at

1185.

                                  ARGUMENT & AUTHORITIES

           Mr. Diggs’ Complaint alleges disparate treatment by BNSF in violation of the Americans

with Disabilities Act, Title VII of the Civil Rights Act of 1964, and 42 U.S.C. § 1981. But those

disparate-treatment claims each lack an essential ingredient: evidence that Mr. Diggs has been

treated disparately. Bereft of material facts sufficient to support a finding that BNSF has treated

Mr. Diggs differently than comparable employees, the record requires dismissal of his

Complaint.

      I.      There is no direct evidence of prohibited discrimination against Mr. Diggs by
              BNSF under Title VII or the ADA.

           Mr. Diggs has no direct evidence of race or disability discrimination. Direct evidence is

“evidence that, if believed, proves the fact of discriminatory animus without inference or



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presumption.” Sandstad v. CB Richard Ellis, Inc., 309 F.3d 893, 897 (5th Cir. 2002). “To

qualify as direct evidence of discrimination” in the Fifth Circuit under either ADA or Title VII,

alleged statements must be 1) related to the protected class of persons of which the plaintiff is a

member; 2) proximate in time to the adverse employment action; 3) made by an individual with

authority over the employment decision at issue; and 4) related to the employment decision at

issue. Rodriguez v. Eli Lilly & Co., 820 F.3d 759, 764-765 (5th Cir. 2016); see also Reed v.

Neopost U.S., Inc., 701 F.3d 434, 441 (5th Cir. 2012) (noting that Fifth Circuit applies the four-

part test to comments presented as direct evidence of discrimination in “federal discrimination

claims”).      Moreover, even if a statement is direct evidence, it may be excluded from

consideration on summary judgment if it is inadmissible hearsay. See Fairchild, 815 F.3d at

965-967; Harris, 635 F.3d at 692 (“Hearsay evidence inadmissible at trial cannot be used to

create a genuine issue of material fact to avoid summary judgment”).

           In this case, Mr. Diggs posits that the following deposition testimony from BNSF

manager Isiah Waller reveals direct evidence of discrimination by BNSF against Mr. Diggs:

           Q. Do you recall ever going to Oxford and talking to Mr. Diggs sometime around
              October 2014?

           A. I’ve been to Oxford. Probably that date would be about right.

           Q. According to Mr. Diggs, you had a conversation in the parking lot of the
              Burns United Methodist Church sometime about October 2014?

           A. That probably could be right. I know the parking lot was right across from his
              house.

           Q. Do you recall telling Mr. Diggs at that time that management did not want you
              to return because of your prior—because of his prior injuries?

           A. We might have talked about that.

           Q. Which management people didn’t want him to return because of his injuries?




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           A. I would just say management. I wouldn’t call no names. I don’t remember if
              I even called a name.

           Q. Right. I mean, you didn’t tell him the names, but you did tell him that the
              management did not want him to return because of his injuries; is that correct?

           A. Well, that was skeptical, not that he couldn’t come back to work but
              management looks at things. … They would think that maybe he might get
              injured again or something like that….

See Isiah Waller deposition excerpts, Motion Exhibit 46, at 15:3-16:5.            Mr. Waller later

identified BNSF Superintendent Carter Tuggle as one of the “managers” who he recalled

expressing “concern” about Mr. Diggs’ potential return. See id. at 37:20-37:24, 41:2-42:3.

“Nobody said, hey, we ain’t going to let [Mr. Diggs] come back to work,” Mr. Waller testified.

See id. at 42:1-2.

           For two reasons, the alleged comments by Mr. Tuggle to Mr. Waller are insufficient to

save Mr. Diggs’ claim from summary judgment.              First, Mr. Tuggle’s alleged remarks are

insufficient to prove discriminatory animus against African Americans or disabled employees

without inference or presumption and, even if uttered, were not related to the employment

decision at issue or made by anyone with authority over that decision. Second, even if Mr.

Tuggle’s alleged comments did amount to direct evidence, they are inadmissible hearsay and

hence incompetent to avoid summary judgment.

           A. Mr. Tuggle’s comments are not “direct evidence” of discrimination by BNSF.

            First, Mr. Tuggle’s alleged comments are not “direct evidence” of race or disability

discrimination. A statement is “direct evidence” of disability discrimination, the Fifth Circuit

ruled in Rodriguez, if it evinces animus without inference, relates to the plaintiff’s protected

class, occurs proximate in time to the challenged employment action, relates to that action, and is

made by someone with authority over the decision. Rodriguez, 820 F.3d at 764-765. The

Rodriguez Court ruled that a supervisor’s comments did not constitute “direct evidence” when


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the supervisor had only “expressed concern” about working with an employee with post-

traumatic stress disorder, once saying, “I don’t know if I can handle” the subsequently

terminated plaintiff.     Id.   Those comments could not prove discriminatory animus without

“inference or presumption” and did not relate to the challenged termination, the Rodriguez Court

held, and thus did not amount to direct evidence of ADA discrimination. Id. at 765.           Mr.

Tuggle’s comments are even weaker evidence than those rejected by the Rodriguez Court. First,

like the Rodriguez supervisor’s concern about being able to “handle” an employee with PTSD,

Mr. Tuggle’s alleged “concern” about Mr. Diggs’ injury history does not show animus against

African Americans or disabled individuals without inference or presumption. Second, that

concern does not relate to the challenged employment action—the Medical Department’s

requirement that Mr. Diggs provide requested records from his medical providers for purposes of

evaluating his fitness for duty. Third, Mr. Tuggle had no authority over or input into the Medical

Department’s determination of whether he was fit to return to work. As Mr. Waller, Mr. Tuggle

and Dr. Gillis have all testified, medical return-to-work decisions are made by BNSF’s Medical

Department in Fort Worth. See Gillis Declaration, Motion Exhibit 17; Isiah Waller deposition

excerpts, Motion Exhibit 46, 32:22-34:12; Carter Tuggle deposition excerpts, Motion Exhibit 47,

at 19:16-25.      Following its standard procedure in this case, BNSF’s Medical Department

requested Mr. Diggs’ medical records and issued a fitness-for-duty determination promptly after

receiving and reviewing them.

           B. Even if they would otherwise constitute direct evidence of prohibited
              discrimination, Mr. Tuggle’s comments are inadmissible hearsay and thus
              insufficient to defeat summary judgment.

           Second, if it would otherwise amount to “direct evidence” of disability discrimination,

Mr. Tuggle’s alleged remark is inadmissible hearsay given Mr. Tuggle’s uncontested lack of




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authority over BNSF’s challenged decision to require medical documentation from Mr. Diggs

before allowing his return to work. Fed. R. Evid. 801(c) (defining hearsay as an out-of-court

statement offered to prove the truth of the matter asserted); Fed. R. Evid. 802 (providing that

hearsay is not admissible); Harris, 635 F.3d at 692 (“Hearsay evidence inadmissible at trial

cannot be used to create a genuine issue of material fact to avoid summary judgment”). In

Fairchild v. All American Check Cashing, Inc., 815 F.3d 959 (5th Cir. 2016) (on petition for

rehearing), a plaintiff purported to offer “direct evidence” of pregnancy-related discrimination

with a statement by a manager of another branch of the defendant’s franchise that her pregnancy

“was related to [her] termination.” Id. at 966. Because the plaintiff “failed to present any

evidence that [the hearsay declarant] was involved in [defendant’s] decision to terminate her,”

the Fifth Circuit rejected arguments for admitting the evidence under Fed. R. Evid.

801(d)(2)(D)’s hearsay exception for statements “offered against an opposing party” and “made

by the party’s agent or employee on a matter within the scope of that relationship and while it

existed.” Id. at 966-967. Ruled the Fairchild Court: “This exception does not apply to an

employee’s statement concerning a termination decision when that employee had nothing to do

with that decision.” Id. at 967 (citation omitted). Such statements do not “concern a matter

within the scope of” the employment relationship and instead are “made in [that employee’s]

capacity as wiseacre only.” Id. Here, too, Mr. Diggs has presented no evidence that Mr. Tuggle

“had [anything] to do” with BNSF’s decisions regarding Mr. Diggs’ requests to return to work.

To the contrary, the record contains nothing to contest testimony by Dr. Gillis and Mr. Tuggle

that the latter played no role in influencing the former’s decisions regarding Mr. Diggs’ request

to return to work. (See Gillis Declaration, Motion Exhibit 17 (“I received no communication

from Carter Tuggle, directly or indirectly, regarding any opinion or concern he may have had




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about Mr. Diggs’ request to return to active duty. Neither Carter Tuggle nor any other BNSF

operations manager, to my knowledge, attempted to influence my medical judgment of this

matter.”); Carter Tuggle deposition excerpts, Motion Exhibit 47, at 20:1-5.) Without such

evidence, Mr. Waller’s account of Mr. Tuggle’s purported statement is inadmissible hearsay and,

accordingly, incompetent as summary-judgment evidence.


            Given the absence of any direct evidence of race or disability discrimination against Mr.

Diggs by BNSF, he may only avoid summary judgment by relying upon indirect evidence

evaluated according to the McDonnell Douglas burden-shifting framework.


      II.      Mr. Diggs cannot establish a prima facie case of ADA discrimination with
               indirect evidence.

            To make out a prima facie case of discrimination under the ADA, Mr. Diggs must show

that (1) he is disabled, has a record of having a disability, or is regarded as disabled; (2) he is

qualified for his job; (3) he was subjected to an adverse employment action on account of his

disability or the perception of his disability; and (4) he was replaced by or treated less favorably

than non-disabled employees. See McInnis v. Alamo Cmty. Coll. Dist., 207 F.3d 276, 279 (5th

Cir. 2000). Assuming that Mr. Diggs can create at least a factual dispute about (1) his disability,

(2) whether he qualifies for the position at issue, and (3) whether he has suffered a disability-

motivated adverse employment action, the record is nevertheless empty of any admissible

evidence sufficient to establish that he (4) was replaced by or treated less favorably than a non-

disabled comparator.

            A. Mr. Diggs cannot make out the fourth element of a prima facie case because he
               cannot show that he was treated less favorably than a non-disabled comparator.

            To establish a prima facie case of ADA discrimination, “it is Plaintiff’s burden to show

that [he] was replaced by someone outside of [his] protected class” or that he “was treated less


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favorably than similarly situated employees outside the protected class.” Demarce v. Robinson

Prop. Group Corp., No. 2:12-CV-34-SA-SAA, 2013 U.S. Dist. LEXIS 174048, at *17-*19

(N.D. Miss.       Dec. 12, 2013) (Aycock, J.).      That is, Mr. Diggs must either identify his

replacement and show that he is not disabled or demonstrate that some non-disabled comparator

faced “nearly identical” circumstances but received better treatment from BNSF. Id. But Mr.

Diggs fails even to allege in his Complaint that some non-disabled person took his job or

received more favorable treatment than he received from BNSF. And the record contains no

evidence of such a replacement or the replacement’s disability status.

           So to establish his prima facie ADA case, Mr. Diggs must show that “he was treated less

favorably because of his membership in that protected class than were other similarly situated

employees who were not members of the protected class, under nearly identical circumstances.”

Lee v. Kansas City S. Ry. Co., 574 F.3d 253, 259 (5th Cir. 2009). In Lee, the Fifth Circuit

stressed that circumstances must match in multiple ways in order to qualify as “identical”:

                 Employees with different supervisors, who work for different
                 divisions of a company or who were the subject of adverse
                 employment actions too remote in time from that taken against the
                 plaintiff generally will not be deemed similarly situated. Likewise,
                 employees who have different work responsibilities or who are
                 subjected to adverse employment action for dissimilar violations
                 are not similarly situated. This is because we require that an
                 employee who proffers a fellow employee as a comparator
                 demonstrate that the employment actions at issue were taken
                 “under nearly identical circumstances.” The employment actions
                 being compared will be deemed to have been taken under nearly
                 identical circumstances when the employees being compared held
                 the same job or responsibilities, shared the same supervisor or had
                 their employment status determined by the same person, and have
                 essentially comparable violation histories. And, critically, the
                 plaintiff’s conduct that drew the adverse employment decision
                 must have been “nearly identical” to that of the proffered
                 comparator who allegedly drew dissimilar employment decisions.
                 If the “difference between the plaintiff's conduct and that of those
                 alleged to be similarly situated accounts for the difference in



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                 treatment received from the employer,” the employees are not
                 similarly situated for the purposes of an employment
                 discrimination analysis.

Id. at 259-260. To sustain his ADA claim, then, Mr. Diggs must point to a non-disabled

comparator who, despite having the same job responsibilities, a similar medical history, and

having taken a medical leave of absence “nearly identical” to his, was treated more favorably by

Dr. Gillis, the relevant decision-maker.

           Mr. Diggs has identified four employees—Chris Caldwell, Mike Huffman, Eden Martin,

and Brad Pierce—whom he believes were treated more favorably by BNSF than he was. See

Motion Exhibit 48, Plaintiff’s Responses to First Set of Interrogatories, Requests for Production

of Documents, and Requests for Admissions by Defendant, at 2-3. Specifically, he says that

those employees were allowed to return to work after medical absences without completing

“return to work evaluations.” Id. But there are at least three material distinctions between Mr.

Diggs’ case and those of these purported comparators. First, different lengths of time are at

issue. Three of the four, Mr. Diggs concedes, were “off work for a few months”; Mr. Diggs, by

contrast, had been off work for five years when he applied to return to work. See Complaint, at

¶6. As Dr. Gillis explained in undisputed testimony, BNSF requires detailed medical records,

including completion of a return-to-work questionnaire, as a matter of “standard practice” from

employees off work for more than a year. See Gillis deposition excerpts, Motion Exhibit 45, at

16:7-20. Second, no evidence exists to show that the injuries to Caldwell, Huffman, Martin or

Pierce were as severe as Mr. Diggs’ disabling condition. Third, the comparators’ cases involved

different decision-makers than Dr. Gillis. Indeed, Dr. Gillis’ undisputed testimony is that she

made no decision relative to the statuses of Caldwell, Huffman, Martin or Pierce. See Motion

Exhibit 17, at ¶17.




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           Under such dissimilar circumstances, a reasonable jury would lack the identical

characteristics required for a determination that Mr. Diggs received less favorable treatment than

non-disabled comparators. For that reason, his ADA claim fails.10 Having failed to show that

BNSF treated him less favorably than non-disabled individuals, Mr. Diggs has failed to establish

a prima facie case; therefore, his ADA claim is ripe for summary judgment.

           B. Even if Mr. Diggs had established a prima facie case of disability discrimination,
              BNSF remains entitled to summary judgment given its non-discriminatory
              rationale for the challenged action.

           Though he has failed to establish a prima facie case of disability discrimination, Mr.

Diggs could not avoid summary judgment in any event given BNSF’s articulation of a

legitimate, non-discriminatory reason for requiring him to submit medical records before

returning to work. See, e.g., Burdine, 450 U.S. at 253 (holding that employer’s burden at this

stage of the McDonnell Douglas analysis is one of production, not persuasion); Sandstad, 309

F.3d at 898 (reiterating that employer’s proffered justification need not be persuasive or

credible). As Dr. Gillis has explained, Mr. Diggs’ medical records were necessary for BNSF to

ascertain whether Mr. Diggs could safely perform the essential tasks of a demanding train-

service job despite uncontrolled diabetes, myositis, and severe podiatric problems. Taken as true,

as it must be at this stage of the analysis, BNSF’s proffered justification is legitimate and non-

discriminatory. See Jefferson v. MillerCoors, L.L.C., 440 F. App’x 326, 330-31 (5th Cir. 2011)

(finding that employer had cited a legitimate and non-discriminatory justification by citing


           10
            Carter Tuggle’s alleged comment regarding Mr. Diggs, discussed supra, is likewise unavailing as
circumstantial proof of bias against Mr. Diggs under the Fifth Circuit’s “stray remarks” doctrine. See Laxton v. Gap
Inc., 333 F.3d 572, 583 & n.4 (5th Cir. 2003). “The remark must, first, demonstrate discriminatory animus and,
second, be made by a person primarily responsible for the adverse employment action or by a person with influence
or leverage over the formal decisionmaker.” Id. at 583. Moreover, according to undisputed testimony from Dr.
Gillis and Mr. Tuggle, the two have not even communicated about any subject. See Gillis Declaration, Motion
Exhibit 17; Carter Tuggle deposition excerpts, at 20:1-5, Motion Exhibit 47. Thus, it is inconceivable that a
reasonable jury could conclude Mr. Tuggle had influence or leverage over Dr. Gillis’ decision.



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employee’s failure to produce requested medical records). Thus, Mr. Diggs could overcome

summary judgment only by showing that the cited reason is pretextual.

           C. Mr. Diggs cannot show that BNSF’s proffered reason for its action was
              pretextual.

           But such a finding by a reasonable jury is inconceivable given case law from the Fifth

Circuit and other federal courts.    In Jefferson v. MillerCoors, L.L.C., 440 F. App’x 326 (5th Cir.

2011), the employer requested updated restrictions for all employees who had permanent

disabilities. The plaintiff initially neglected to comply, but eventually he submitted a doctor’s

note. Id. at 328. Jefferson filed claims of discrimination based on ADA, ADEA, and race under

Title VII. The Fifth Circuit affirmed summary judgment for the employer, finding that Jefferson

offered no valid evidence from which to find that the employer’s proffered reason for its action

was pretextual:

                  Assuming without deciding that Jefferson established a prima facie
                  case of disability discrimination, he has failed to rebut
                  MillerCoors’s legitimate non-discriminatory reason for placing
                  Jefferson on inactive status. MillerCoors asserts that it placed
                  Jefferson on inactive status because of his repeated failure to
                  comply with requests that he update his Work Status Report with
                  recommendations from an approved physician. MillerCoors
                  required every employee with permanent restrictions to update his
                  or her file with restrictions from an approved physician. Jefferson
                  was the only employee who claimed to still need restrictions, but
                  he failed to obtain the updated medical information. Jefferson has
                  offered no valid summary judgment evidence to suggest that
                  MillerCoors’s explanation for its employment action is pretextual.

Id. at 330-31.

           In Moore v. CVS Rx Services, Inc., 142 F.Supp.3d 321 (M.D. Pa. 2015), the plaintiff

experienced medical complications that limited her ability to work during and after pregnancy.

She was placed on a leave of absence which her employer extended approximately fourteen

times over the course of about 10 months. Id. at 326-27. The employer eventually dismissed her



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because it did not receive requested documentation from her physicians.                       “Plaintiff

acknowledges that she was given multiple opportunities to submit the necessary documentation,

but notes that she ultimately did not supply it because she relied on her medical providers to do

so.” Id. at 332. The Middle District of Pennsylvania ruled:

                  All told, the Court tallied fourteen approved leave extensions in
                  addition to the initial approval of Plaintiff’s first request, as well as
                  a subsequent exchange of at least thirty letters and telephone calls
                  between Defendant and Plaintiff. Several of those communications
                  explained to Plaintiff her documentation’s shortcomings, the
                  process for correcting them, how she could contact someone
                  should she have any questions, and the consequences of her
                  continued failure to act. … There is no genuine dispute that
                  Defendant acted with the requisite good faith when processing
                  Plaintiff’s requests in this case.

                  In fact, were it not for Plaintiff’s nurse practitioner failing to
                  submit adequate documentation, and Plaintiff never seeing to it
                  that those shortcomings were remedied, there is nothing in the
                  record indicating that Defendant would have been anything other
                  than cooperative when evaluating further leave extension requests
                  by Plaintiff. A plaintiff cannot, as here, fail on her own end to
                  adequately engage with her employer. As one court has previously
                  described the required exchange of information between disabled
                  individuals and their employers in ADA cases, “neither the law nor
                  common sense can demand clairvoyance of an employer.”
                  Conneen, 334 F.3d at 331. Instead, an employer only can act on
                  what an employee tells it and only can rely upon the sound
                  judgment of medical professionals when selecting and approving
                  the appropriate leave for a disabled individual.


Id. at 343.

           After expressing its doubts that she even established a prima facie case of disparate

impact under the ADA, the Court analyzed whether CVS’ legitimate nondiscriminatory reason

for terminating her was pretextual:

                  Plaintiff’s narrative depicts a drained [HR manager], worn by
                  Plaintiff’s many leave requests, spitefully sending Plaintiff the
                  termination letter to put an end to all of the aggravation that
                  Plaintiff has caused Defendant. The problem with that history is


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                    that there are simply insufficient facts supporting it—and certainly
                    insufficient facts for that hypothesis to create a genuine dispute
                    precluding summary judgment. Based on the record, the Court
                    neither disbelieves Defendant’s nondiscriminatory justification nor
                    believes Plaintiff’s charge of discriminatory animus.

                    …

                    Finally, and quite telling, the simple truth behind this case is that
                    an employer who extends an employee's leave approximately
                    fifteen times and engages in approximately thirty communications
                    with that employee in an effort to assist her in the submission of
                    the appropriate paperwork is not an employer who is
                    discriminating. ... At some point, an employee must take
                    responsibility for her own shortcomings, rather than attempt to
                    shift the blame to her doctor, nurse practitioner, or employer.


Id. at 347-48.

             So, too, here. After Mr. Diggs asked to return to work at BNSF in 2014, BNSF asked

him for medical records regarding fitness for duty. Over the months that followed, BNSF did not

receive complete records, repeated its requests for them, and extended Mr. Diggs’ vocational

leave while it waited. All told, BNSF’s Medical Department sent Mr. Diggs at least 11 letters

following his return-to-work request attempting to collect medical information needed to

evaluate his fitness for duty. While it waited, it extended his leave five times. There is simply no

admissible evidence tending to prove that Dr. Gillis, the relevant decision maker, delayed her

decision regarding Mr. Diggs’ return-to-work request for any reason other than her lack of the

requested records.

             Even if Mr. Diggs had presented evidence sufficient to support a prima facie case under

the ADA (and he has not), no evidence exists to support a finding of pretext. Accordingly, the

claim would still be subject to summary judgment.

      III.      Mr. Diggs cannot establish a prima facie case of race discrimination with
                indirect evidence.



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           For similar reasons, the record lacks evidence sufficient to push Mr. Diggs’ Title VII

claim past the summary judgment stage.11 Under that statute, Mr. Diggs must show that “(1) he

belongs to a protected group; (2) [he] was qualified for his position; (3) [he] suffered an adverse

employment action; and (4) … in the case of disparate treatment, … similarly situated employees

were treated more favorably.” Nasti v. CIBA Specialty Chems. Corp., 492 F.3d 589, 593 (5th

Cir. 2007) (citing Okoye v. Univ. of Tex. Houston Health Sci. Ctr., 245 F.3d 507, 512-513 (5th

Cir. 2001)). Mr. Diggs is (1) black, a member of a protected class. But, assuming (2) he qualifies

for the position at issue and (3) he has suffered an adverse employment action, the record lacks

admissible evidence sufficient to establish that he (4) was replaced by or treated less favorably

than similarly situated employees who were not black.

      A. Mr. Diggs cannot establish the fourth element of a prima facie case of race
         discrimination because he cannot show that he was treated less favorably than a
         non-black comparator—or even that the decisionmaker was aware of his race.

           The fourth element of a Title VII prima facie case requires a plaintiff to show either that

(1) he was replaced by someone outside the protected class or (2) other similarly situated

employees outside the protected class were treated more favorably under nearly identical

circumstances. Okoye, 245 F.3d at 512-14. As discussed above, no record evidence exists to

show that Mr. Diggs has been replaced—indeed, he has returned to work—or treated differently

than any comparator he identifies. See supra, II.A. Thus, his Title VII claim fails.

           Moreover, federal courts have held that federal discrimination claims are subject to

summary judgment when the plaintiff cannot show that the decision-maker even knew of his or

her membership in a protected class. See, e.g., Raytheon Co. v. Hernandez, 540 U.S. 44, 54 n. 7


           11
            And dismissal of Mr. Diggs’ § 1981 claim is required for the same reasons. See Byers v. Dallas Morning
News, Inc., 209 F.3d 419, 422 n.1 (5th Cir. 2000) (considering Title VII and section 1981 claims “under the Title
VII rubric of analysis” because “[c]laims of intentional discrimination brought under Title VII and Section 1981
require the same proof to establish liability”).



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(2003) (observing, in context of ADA claim, that if a defendant “were truly unaware that such a

disability existed, it would be impossible for her hiring decision to have been based, even in part,

on [plaintiff’s] disability. And, if no part of the hiring decision turned on [plaintiff’s] status as

disabled, he cannot, ipso facto, have been subject to disparate treatment.”); Robinson v. Adams,

847 F.2d 1315, 1316 (9th Cir. 1987) (observing that McDonnell Douglas framework helps

identify “proof from which a trier of fact can reasonably infer intentional discrimination” but

holding that “the McDonnell Douglas elements would not rationally create this inference if, as

here, a plaintiff offers proof that he is Black, but there is no showing by direct or indirect

evidence that the decision-maker knew this fact.”); McDowell v. T-Mobile USA, Inc., 307 F.

App’x 531, 533-534 (2d Cir. 2009). The McDowell employee worked for the employer in New

York City, but the record established that the decision to terminate his employment “was made in

far-away Washington, not locally in New York City.” Id. at 533. Additionally, the “critical

decision-maker” “did not know plaintiff’s race until after this lawsuit began.”                   Id.

“Accordingly,” the Second Circuit held, “plaintiff’s case lacks critical evidence of discriminatory

intent and cannot proceed past summary judgment.” Id. Like the plaintiff in Rodriguez, Mr.

Diggs complains of an action by a decision-maker in another city who “did not know plaintiff’s

race until after this lawsuit began.” Id. Mr. Diggs hence also lacks “critical evidence” of

intentional discrimination and fails to make out a prima facie case of it.

      B. Even if Mr. Diggs had established a prima facie case of race discrimination, BNSF
         remains entitled to summary judgment given its non-discriminatory rationale for
         the challenged action.

           For the reasons stated in § II.B, supra, BNSF has advanced a legitimate, non-

discriminatory reason for its challenged action. Hence, Mr. Diggs can only avoid summary




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judgment by pointing to facts from which a reasonable jury could infer that the proffered

justification is pretextual.

      C. No facts support a finding that BNSF’s proffered justification is a pretext for race
         discrimination.

           As set forth in § II.C, supra, however, such facts are absent from the record. Summary

judgment is therefore warranted against Mr. Diggs’ Title VII and § 1981 claims.

                                          CONCLUSION

           BNSF granted Christopher Diggs’ return-to-work request after Mr. Diggs finally

submitted all medical information BNSF’s Medical Department sought to evaluate his fitness for

duty after his years’-long medical leave. The record lacks any admissible evidence that Mr.

Diggs was treated differently because of his race or disability status, or even of a similarly

situated employee who was treated more favorably by BNSF. Therefore, the Court should

dismiss all of the claims in Mr. Diggs’ Complaint, with prejudice, taxing all costs to Mr. Diggs.

           Respectfully submitted, this 7th day of November, 2016.

                                                      BNSF RAILWAY COMPANY

                                                      BY:    /s/ Benjamin Bryant
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                                   CERTIFICATE OF SERVICE

           I, the undersigned counsel, do hereby certify that on November 7, 2016, I electronically

filed the foregoing with the Clerk of the Court using the ECF system which sent notification of

such filing to the following counsel of record:

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                                                       /s/ Benjamin Bryant
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